hag LaQget

Application for Multi-Court Exemption from the

Judicial Conference's Electronic Public Access (EPA) Fees

1.) [am requesting an exemption from fees for public access to electronic case records for the courts

selected below:
Courts of Appeal

[_] All Courts of Appeal!
CL] First Circuit

[-] Second Circuit

[J Third Circuit

[_] Fourth Circuit

(J Fifth Circuit

(_] Sixth Circuit

District Courts

[_] All District Courts
[_] Alabama Middle
[_] Alabama Northern
[_] Alabama Southern
[J Alaska

[_] Arizona
-[[] Arkansas Eastern
[] Arkansas Western
1] California Central
[_] California Eastern
[_] California Northern
[_] California Southern
[_] Colorado

[_] Connecticut

[_] Delaware

[_] District of Columbia
[_] Florida Middle

[_] Florida Northern
[_] Florida Southern
(_] Georgia Northern
[_] Georgia Middle

[_] Georgia Southern
[] Guam

[_] Hawaii

[_] Idaho

[_] Seventh Circuit
[1 Eighth Circuit
[-] Ninth Circuit
[] Tenth Circuit
[J Eleventh Circuit
(] D.C. Circuit

[_] Federal Circuit

[] Mlinois Northern
[_] Mlinois Central

[_] Illinois Southern
[[] Indiana Northern
[_] indiana Southern
[_] lowa Northern

[_] lowa Southern
[_] Kansas

[_] Kentucky Eastern
[_] Kentucky Western
[_] Louisiana Eastern
[_] Louisiana Middle
[_] Louisiana Western
[-] Maine

[_] Maryland

[_] Massachusetts
[_] Michigan Eastern
[_] Michigan Western
[_] Minnesota

[_] Mississippi Northern
[_] Mississippi Southern
[] Missouri Eastern
[_] Missouri Western
[_] Montana

[] First Circuit - BAP
(1 Sixth Circuit - BAP
[J Eighth Circuit - BAP
L_] Ninth Circuit - BAP
["] Tenth Circuit - BAP

[_] Nebraska

[-] Nevada

[|] New Hampshire

[_] New Jersey

[_] New Mexico

[[] New York Eastern

[-] New York Northern
[_] New York Southern

CO New York Western

[_] North Carolina Eastern
[] North Carolina Middle
[-] North Carolina Western
[_] North Dakota

[_] Northern Mariana Islands
[_] Ohio Northern

[_] Ohio Southern

[_] Oklahoma Eastern

[-] Oklahoma Northern
[_] Oklahoma Western
[-] Oregon

(_] Pennsylvania Eastern
[_] Pennsylvania Middle
[_] Pennsylvania Western
[-] Puerto Rico

Bankruptcy Appellate Panels (BAP)

FILED

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CLERK
U.S. BANKRUFTOY GOURD

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DEPUTY CLERK

[-] Rhode Island

[[] South Carolina

[_] South Dakota

[_] Tennessee Eastern
[_] Tennessee Middle
[_] Tennessee Western
[_] Texas Eastern

[_] Texas Northern

[_] Texas Southern

[_] Texas Western

[_] Utah

[J Vermont

[-] Virgin Islands

(_] Virginia Eastern

[_] Virginia Western

[(_] Washington Eastern
[-[] Washington Western
[_] West Virginia Northern
[_] West Virginia Southern
[_] Wisconsin Eastern
[_] Wisconsin Western

[_] Wyoming
Bankruptcy Courts

All Bankruptcy Courts

[_] Alabama Middle
[_] Alabama Northern
[_] Alabama Southern
[_] Alaska

[_] Arizona

[_] Arkansas Eastern
[(_] Arkansas Western
[_] California Central
{] California Eastern
[_] California Northern
[_] California Southern
[_] Colorado

[_] Connecticut

[_] Delaware

[_] District of Columbia
[_] Florida Middle

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[_] Michigan Western
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[_] Mississippi Northern

[_] Mississippi Southern

[_] Nebraska

[-] Nevada

[_] New Hampshire

[_] New Jersey

[_] New Mexico

[_] New York Eastern

[_] New York Northern
{"] New York Southern

[_] New York Western

(] North Carolina Eastern
[_] North Carolina Middle
[-] North Carolina Western
(J North Dakota

[_] Northern Mariana Islands
[_] Ohio Northern

{_] Ohio Southern

[_] Oklahoma Eastern

[_] Oklahoma Northern
[_] Oklahoma Western
[_] Oregon

[_] Pennsylvania Eastern

[-] Rhode Island

[_] South Carolina

[_] South Dakota

[-] Tennessee Eastern
[_] Tennessee Middle
[_] Tennessee Western
[_] Texas Eastern

[_] Texas Northern

[-] Texas Southern

[_] Texas Western

[J Utah

[J Vermont

(] Virgin Islands

[_] Virginia Eastern

[] Virginia Western
[-] Washington Eastern

[_] Washington Western
(_] West Virginia Northern
(_] West Virginia Southern
["] Wisconsin Eastern

[_] Wisconsin Western

 

(_] Guam {1 Missouri Eastern [_] Pennsylvania Middle [_] Wyoming
[] Hawaii [_] Missouri Western [-] Pennsylvania Western
[_] Idaho [-] Montana [_] Puerto Rico
National Courts
gO Judicial Panel on gq U.S. Court of g U.S. Court of
Multidistrict Litigation Federal Claims International Trade

 

 

 

2.) I am an individual associated with [Brigham Young University

 

 

3.) Please summarize why the case information from the Public Access to Court Electronic Records
(PACER) service is needed and how it will be used. Also, please explain why an exemption from
the courts identified is necessary. If you need more space, please provide in an attachment.

 

I, along with my co-authors Bronson Argyle (BYU), Sasha Indarte (Duke), Taylor Nadauld (BYU), and Christopher Palmer (MIT),
would like an academic fee exemption to allow us to examine the impact of COVID-19 on personal bankruptcy filings. We plan to
download the schedules of assets and liabilities for a large, nationally representative set of bankruptcy filers on an ongoing basis.
This will allow us to track in real-time how the economic fallout of COVID-19 is impacting the financial situation of households,
and whether particular groups of households are being more severely affected. In previous work, we have created a program than
can scrape key information from the PDF Schedules, so we have the machinery in place already to do this. However, the costs of
downloading large numbers of schedules is prohibitive for our academic budgets. At a cost of $3 for each Schedule, we could only
download 3,000 cases with our budget of $9,000. This is too small a fraction of total cases to be useful. A fee exemption would

 

 

 
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4.) In support of this application, I affirm the following:

a) An exemption from the Judicial Conference's EPA Fee is necessary in order to avoid
unreasonable burdens and to promote public access to information.

 

 

b) That the exemption will be for a definitive period of time: |Until 5/1/2022 - to track COVID fallout

 

 

c) I understand that this fee exemption will apply only to me, will be valid only for the purposes
stated above, and will apply only to the electronic case files of the court(s) indicated above that are
available through the PACER service.

d) I agree that any data received through this exemption will not be sold for profit, will not be
transferred, will not be used for commercial purposes, and will not be redistributed via the Internet.

Declaration: I declare that all the above information is true and understand that a false statement
(x] may result in termination of my exempt access and an assessment of Electronic Public Access
usage fees. (The box must be marked or your request will not be considered)

 

 

(801) 660-5564
Applicant's Phone Number

 

 

 

Benjamin Iverson

 

 

Applicant's Printed Name

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Applicant's Title — —-
Applicant's Mailing Address
Digitally signed by Benjamin Charles
Benjamin Charles Iverson ae Provo UT _| [84604
‘ : Cit State Zip Code
Applicant's Signature y P
4/29/2020
Date

Please submit your completed, signed request via email to Multi-CourtExemptions@ao.uscourts.gov
or by mail to:

Attention: Multi-Court Exemptions
Court Programs Division
DPS-CSO-PRGD

One Columbus Circle, N.E.
Washington, DC 20544

** Requests sent through the US mail may take up to two weeks to clear security.**
